
In re Robinson, Earl A.; — Plaintiff; Applying For Supervisory and/or Remedial *388Writs, Parish of Evangeline, 13th Judicial District Court Div. B, No. CR-56005-FA; to the Court of Appeal, Third Circuit, No. KH 08-01460.
Denied. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; State v. Parker, 98-0256 (La.5/8/98), 711 So.2d 694; La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172.
